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                        Exhibit 7
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From: S Wang <theahsea@gmail.com>
Date: Thursday, September 1, 2022 at 5:56 PM
To: Aaron Etra <aaron@etra.com>
Subject: 240 East 47th 12A Invoice

              Rent      Electricity           As of 9/01/2022
2020
January     $4,000.00    $51.89       Paid 1/28 (combined with Dec '19)
February    $4,000.00    $71.10          Paid 3/6 (Repair deducted)
March       $4,000.00    $79.09                   Paid 4/6
April       $4,000.00    $46.40                  Paid 4/28
May         $4,000.00    $47.59                  Paid 6/10
June        $4,000.00    $39.76                  Paid 7/17
July        $4,000.00    $52.79                  Paid 9/17
August      $4,000.00    $43.47              Paid 1/21/2022 ,5k
September $3,000.00      $40.92                   Unpaid
October     $4,000.00    $31.29                   Unpaid
November $4,000.00       $36.12                   Unpaid
December $4,000.00       $45.22                   Unpaid
              Rent      Electricity
2021                                       Due first week of month
January     $4,000.00    $83.92                   Unpaid
February    $4,000.00    $144.70                  Unpaid
March       $4,000.00    $178.36                  Unpaid
April       $4,000.00    $69.80                   Unpaid
May         $4,000.00    $32.19                   Unpaid
June        $4,000.00    $34.73                   Unpaid
July        $4,000.00    $31.85                   Unpaid
August      $4,000.00    $32.03                   Unpaid
September $4,000.00      $30.22                   Unpaid
October     $4,000.00    $28.25                   Unpaid
November $4,000.00       $30.70                   Unpaid
December $4,000.00       $82.59                   Unpaid
              Rent      Electricity
2022                                       Due first week of month
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January    $4,000.00    $80.86                 Unpaid
February   $4,000.00    $239.95                Unpaid
March      $4,000.00    $120.61                Unpaid
April      $4,000.00    $70.92                 Unpaid
May        $4,000.00    $61.10                 Unpaid
June       $4,000.00    $37.93                 Unpaid
July       $4,000.00    $59.07                 Unpaid
August     $4,000.00    $57.52                 Unpaid
September $4,000.00                     Due First week of month
October
November
December
             Rent      Electricity
Total Due $99,000.00 $1,704.32               $100,704.32
